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              EXHIBIT C
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Plassio, Patrick V.

From:                     Plassio, Patrick V.
Sent:                     Friday, June 7, 2024 4:32 PM
To:                       Morton, Phillip; Almeling, David; Cope, Kristin
Cc:                       Gershenson, Adam; Strauss, Samantha A; Collin K. Brodrick; Plassio, Patrick V.
Subject:                  RE: CesiumAstro/AnySignal - Motion for Protective Order / Motion to Seal / Identity of
                          "Customer A" and "Investor C"



Phil,

Your message below is unclear. You say you are moving to protect “portions of text
messages outside the scope of the court’s May 1 order.” First, the Court’s May 1 order,
addressing the discovery CesiumAstro can receive from AnySignal, has no relevance to
what CesiumAstro can receive, by agreement, from Luther. Second, we have not yet
received any production of documents or any clear statement that would allow us to
identify what materials are at issue here. Again, it is your meet-and-confer obligation
to explain the materials on which you intend to seek a protective order.

And in any event, as noted below, the agreement with AnySignal to extend Mr. Luther’s
production deadline for certain text messages to June 7 in exchange for your
agreement not to prevent him from producing these documents was meant precisely to
avoid motion practice. Indeed, in the absence of our agreement, Mr. Luther’s deadline
to produce was May 30 (and thus any motion for protective order would have had to
be filed by that day). We did not agree to extend a deadline for you to file such a
motion—we agreed to an extension of the production deadline and on your
agreement to a production, so that we could evaluate what is produced and see if we
even have a dispute. In that sense, your motion is premature, as—again—we do not
even know what materials are at issue or what materials, if any, we would be seeking to
compel.

You say that the identity of Investor C and Customer A have been at issue for
weeks. But you do not direct us to your objection to the treatment of their identities as
Confidential under the Protective Order. Please do so. We have no choice but to
oppose this portion of your motion as non-compliant with paragraph 11(a) of the
Protective Order, which first requires the parties meet and confer regarding any such
challenges, and then for the challenging party to issue a written objection to the
designation. You have done neither. Instead, your attempt to short-circuit that

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process by putting us on a three-hour timeline to resolve this issue is
inappropriate. We will oppose this portion of your motion accordingly.

Further, none of the links you have provided actually disclose the information in the
complaint with respect to Customer A or Investor C that should not be made
public. For example, the articles about Vast do not disclose that CesiumAstro was
involved in the bidding process, that CesiumAstro had a pre-existing relationship with
Vast, or that CesiumAstro tasked Luther with developing a proposed partnership plan
with a company that Vast later acquired. Similarly, the links regarding Lavrock do not
disclose Luther’s connections or AnySignal’s solicitations to Lavrock. We will oppose
this portion of your motion on this ground as well.

In short, we think filing of your motion would be improper and premature, and that you
have not provided sufficient information or properly conferred on it yet.

Patrick V. Plassio
O: +1-972-360-1931
M: +1-717-979-3185
pplassio@omm.com



From: Morton, Phillip <pmorton@cooley.com>
Sent: Friday, June 7, 2024 3:26 PM
To: Plassio, Patrick V. <pplassio@omm.com>; Almeling, David <dalmeling@omm.com>; Cope, Kristin
<kcope@omm.com>
Cc: Gershenson, Adam <agershenson@cooley.com>; Strauss, Samantha A <sastrauss@cooley.com>; Collin K. Brodrick
<collin.brodrick@ogletree.com>
Subject: Re: CesiumAstro/AnySignal - Motion for Protective Order / Motion to Seal / Identity of "Customer A" and
"Investor C"


[EXTERNAL MESSAGE]

Patrick-

The materials that are at issue in the motion are portions of the text messages outside the scope of the
court's May 1 order. We are intending to produce the text message string with redactions as previously
agreed to and anticipate that Luther's counsel will produce the same.

Regarding your agreement with Mr. Luther, we were not a party to its negotiation and didn't even know
you all had entered into an agreement until after we sent the email below. Your agreement with Mr.
Luther does not impact our right to seek the court's assistance in enforcing the May 1 order

The identity of Investor C and Customer A have been at issue for weeks. If you'll agree by 6pm CT today
that the identifies of Investor C and Customer A can be made public, we will not need to raise that issue


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with the Court. Here are just a few non-exclusive examples of public disclosures which show that any
claim of confidential treatment of their identifies by CesiumAstro is meritless:

Customer A
https://www.businesswire.com/news/home/20240212202161/en/AnySignal-and-Vast-Space-Partner-
on-Next-Generation-Space-Communication-Technologies
https://anysignal.medium.com/anysignal-and-vast-space-partner-on-next-generation-space-
communications-5693053cd2ca

Investor C
https://lavrockvc.com/portfolio/cesium-astro/
https://www.businesswire.com/news/home/20220302005268/en/CesiumAstro-Secures-60-Million-in-
Oversubscribed-Series-B-Funding
https://www.linkedin.com/posts/shey-sabripour-4b8033186_cesiumastro-secures-60-million-in-
oversubscribed-activity-6904780111887917056-QnFx/

Regards,
Phil

From: Plassio, Patrick V. <pplassio@omm.com>
Sent: Friday, June 7, 2024 2:46 PM
To: Morton, Phillip <pmorton@cooley.com>; Almeling, David <dalmeling@omm.com>; Cope, Kristin
<kcope@omm.com>
Cc: Gershenson, Adam <agershenson@cooley.com>; Strauss, Samantha A <sastrauss@cooley.com>; Collin K. Brodrick
<collin.brodrick@ogletree.com>; Plassio, Patrick V. <pplassio@omm.com>
Subject: RE: CesiumAstro/AnySignal - Motion for Protective Order / Motion to Seal / Identity of "Customer A" and
"Investor C"

[External]



Phil,



We are surprised by AnySignal’s intention to move for a protective order today, as it is
contrary to the extensive discussions between the parties.



       First, it is unclearly precisely what materials are at issue in your forthcoming
        motion; please identify them immediately. We have a signed agreement on the
        scope of discovery between CesiumAstro and Mr. Luther. We also have a signed
        agreement on the scope of discovery between AnySignal and CesiumAstro, with
        one issue therein finalized by the Court’s ruling on our request. As you know, we
        consented to both agreements on the basis of what each party was agreeing to
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    provide. It was not until after finalizing those agreements that AnySignal
    indicated a desire to limit Mr. Luther’s production. The only documents in Mr.
    Luther’s possession you have ever sought to prevent him from producing,
    consistent with the scope of discovery to which we agreed with him and with his
    discovery obligations, are text message communications between Mr. Luther and
    AnySignal’s John Malsbury, which you have postured contain AnySignal’s
    confidential information. We therefore assume and expect that your motion
    seeks only a protective order as to those communications, as those are the only
    ones you have mentioned and about which we have met and conferred. If you
    seek any further restrictions, we disagree that you have met and conferred on
    that issue. Therefore, we request you to identify precisely what materials are at
    issue in your proposed motion.



    Second, regarding the text messages, our position has always been (and Mr.
    Luther’s counsel has agreed) that we are entitled to full discovery of the agreed
    scope of materials from Mr. Luther. We made known our position that we would
    have to move to compel production of any materials that are relevant and
    responsive under each of the different discovery agreements, that Mr. Luther at
    AnySignal’s insistence chose to withhold. But AnySignal postured that if it was
    allowed to propose narrowly-tailored redactions of Mr. Luther’s materials, we
    would be able to discern the content of the conversations. With the benefit of at
    least the redacted communications in hand, the parties could then assess the
    need for motion practice going forward (if any). In other words, you are aware
    that CesiumAstro did not agree that any redaction of those communications was
    proper; CesiumAstro agreed to allow redactions to happen as a first step, in
    exchange for extending Mr. Luther’s deadline to produce these documents, for
    the very purpose of avoiding motion practice for the parties and the Court at this
    stage. Your sudden declaration of an intention to file a motion for protective
    order is contrary to our discussions and agreement, and completely nullifies the
    very purpose of our arrangement for an initial redaction step (and an extension
    of Mr. Luther’s deadline to produce those texts) in the first place.



    Third, AnySignal committed just last week to producing those redacted copies of
    communications and coordinating with Mr. Luther so that his productions would
    include similar redactions at AnySignal’s request. We expect AnySignal today to
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         abide by the agreement memorialized in Samantha’s May 30, 2024 email (8:29PM
         CT): “AnySignal agrees that it will produce redacted copies of the
         communications with Mr. Luther by June 7 and that it will coordinate with Mr.
         Luther to produce a mirror copy by June 7.” Please confirm.



We do not oppose your request to seal any portion of your motion.



We are unaware of any objection that AnySignal has made to the “Confidential”
treatment of the identities of Customer A and Investor C under the Protective
Order. When we initially disclosed their identities under a “Highly Confidential –
Attorney’s Eyes Only” designation, you expressly did not challenge that treatment
under paragraph 11 of the Protective Order. See May 3, 2024 (6:43PM CT) email from
Morton to Plassio, et al. (“Without prejudice to our right to challenge this
confidentiality designation, please confirm that we may share this information with
personnel at AnySignal.”). We agreed to downgrade this designation to “Confidential”
so that you could share the identities with your client. See May 7, 2024 (9:27AM CT)
email from Plassio to Morton, et al. We heard nothing further on this issue; in other
words, this is the first time we have heard AnySignal object to the Confidential
designation on these identities. If AnySignal believes that the identities of Customer A
and Investor C should be public, the proper avenue is through paragraph 11 of the
Protective Order. Your proposed path of bypassing the protective order and filing a
motion on this issue without meeting and conferring is improper. We would oppose
on this ground and others. Further, precisely because this is the first time you are
raising this issue, we are unaware of the “materials in the public domain” to which you
are referring. Please identify those immediately as well.



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From: Morton, Phillip <pmorton@cooley.com>
Sent: Friday, June 7, 2024 9:45 AM
To: Plassio, Patrick V. <pplassio@omm.com>; Almeling, David <dalmeling@omm.com>; Cope, Kristin
<kcope@omm.com>
Cc: Gershenson, Adam <agershenson@cooley.com>; Strauss, Samantha A <sastrauss@cooley.com>; Collin K. Brodrick
<collin.brodrick@ogletree.com>
Subject: CesiumAstro/AnySignal - Motion for Protective Order / Motion to Seal / Identity of "Customer A" and "Investor
C"



[EXTERNAL MESSAGE]

Patrick and David-



Following up on our earlier meet and confer, we explained that AnySignal may need to move for a
protective order regarding the disclosure of information of AnySignal’s that is outside the scope of the
Court’s May 1 Order. AnySignal intends to do so today. We consider our meet and confer complete on
the topic, but if you believe a further meet and confer would be productive, please let us know.



Additionally, we plan to move to seal portions of our motion for protective order that reference certain
information in CesiumAstro’s discovery responses to Mr. Luther, the identification of “Customer A” and
“Investor C”, and public materials referencing the parties that also identify “Customer A” and “Investor
C”. We presume you wish to keep this information under seal, but we are available to meet and confer if
you believe it is necessary.



AnySignal maintains its objection to the confidential treatment of the identity of “Customer A” and
“Investor C”, as materials in the public domain identify relationships between AnySignal and "Customer
A" and between "Investor C" and CesiumAstro. To date, CesiumAstro has not moved for an order
maintaining the confidentiality of their identities. To ensure there is no ambiguity on whether AnySignal
can publicly reference their identities and given the exigencies of expedited discovery, AnySignal's
motion for protective order today will ask the Court to make the identity of "Customer A" and "Investor C"
public.



Regards,

Phil



Phillip E. Morton

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